                            UNITED STATES BANKRUPTCY COURT
                          FOR THE EASTERN DISTRICT OF MICHIGAN

 IN RE: Gaines Gordon Farmer and                 CASE NO. 20-40726-TJT
 Catherine Renee Farmer,                         Chapter 13
        Debtors.                                 Judge Thomas J. Tucker
 _______________________________________________________________________

              ORDER DECLINING CREDITOR’S REQUEST TO LIFT STAY

           Based on an affidavit of default filed on September 20, 2023 (Docket # 60), followed

 by an affidavit of non-compliance filed on October 16, 2023 (Docket # 66), the secured

 creditor, Regional Acceptance Corporation (the “Creditor”), seeks an order lifting the stay,

 to give the Creditor the right to “immediately repossess the [Debtor’s] 2019 Kia Soul (VIN

 KNDJN2A24K7691061).”

           The Court must deny the requested relief, however, because the Creditor’s assertion

 of default by the Debtor is inconsistent with the findings and the relief included in the

 October 11, 2023 discharge order entered in this case (Docket # 62). Moreover, the Creditor

 failed to timely file an objection to the Chapter 13 Trustee’s notice filed September 13,

 2023, entitled “Trustee’s Notice of Final Cure Payment and Trustee’s Notice of Completion

 of Plan Payments; Notice to Creditors of Obligation to File a Response and Right to Object;

 and Notice to Debtor of Obligation to File Debtor’s Certification “ (Docket # 57), as

 required by L.B.R. 2015-3(a)(5).

           Accordingly,

           IT IS ORDERED that the Creditor’s request for an order lifting stay (Docket # 66) is

 denied.




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 Signed on October 17, 2023




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